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                       UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                         ORDER OF THE EXECUTIVE COMMITTEE
      It appearing that the Hon. Manish S. Shah is presiding in MDL 2842 (18 CV 4171, In Re: Chicago
Board Options Exchange Volatility Index Manipulation Antitrust Litigation); and

       It further appearing that, 18 CV 1754, Atlantic Trading USA, LLC v. CBOE Global Markets, Inc. et al.,
and the related cases associated to 18 CV 1754 (listed below) are currently pending before the Hon. Manish S.
Shah and the designate Magistrate Judge Maria Valdez, fall within the scope of MDL 2842; therefore

       It is hereby ordered that the Clerk is to reassign the cases listed below to MDL 2842 (18 CV 4171, In
Re: Chicago Board Options Exchange Volatility Index Manipulation Antitrust Litigation).

18 CV 1754                    Atlantic Trading USA, LLC v. CBOE Global Markets, Inc. et al
18 CV 2025                    Tomasulo v. CBOE Exchange, Inc. et al
18 CV 2185                    Koza v. CBOE Exchange, Inc. et al
18 CV 2304                    Beck v. CBOE Exchange, Inc. et al
18 CV 2435                    Bueno v. CBOE Global Markets, Inc. et al
18 CV 2460                    Huang v. Chicago Board of Options Exchange et al
18 CV 2490                    Palatiello v. CBOE Exchange, Inc. et al
18 CV 2757                    Pels v. CBOE Global Markets, Inc., et al
18 CV 2915                    Haldeman Realty Co., Inc. v. CBOE Exchange, Inc. et al
18 CV 3021                    Siegel v. CBOE Exchange, Inc. et al
18 CV 3069                    Etten v. Cboe Global Markets, Inc. et al
18 CV 3074                    Terwilliger v. Cboe Global Markets Inc. et al
18 CV 3190                    Samuel v. Does et al
18 CV 3355                    Burnell v. CBOE Global Markets, Inc. et al


                              ENTER:
                                      FOR THE EXECUTIVE COMMITTEE:




                                      _____________________________________
                                       Chief Judge Rubén Castillo




Dated at Chicago, Illinois this 26th day of June, 2018.
